                                                                   Case
                                                                    Case2:17-cr-00124-JAD-EJY
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                                                                    1   KENDELEE L. WORKS, ESQ. (#9611)
                                                                        kworks@christiansenlaw.com
                                                                    2   CHRISTIANSEN LAW OFFICES
                                                                        810 S. Casino Center Blvd., Suite 104
                                                                    3   Las Vegas, Nevada 89101
                                                                    4   Telephone:    (702) 240-7979
                                                                        Facsimile:    (866) 412-6992
                                                                    5   Attorney for Defendant Ernest Rogers
                                                                    6
                                                                    7                                  UNITED STATES DISTRICT COURT

                                                                    8                                        DISTRICT OF NEVADA

                                                                    9                                                  )
                                                                        UNITED STATES OF AMERICA,                      )     Case No: 2:17-cr-00124-JAD-GWF
                                                                   10                                                  )
CHRISTIANSEN LAW OFFICES




                                                                                        Plaintiff,                     )
                                                                   11                                                  )     STIPULATION AND ORDER TO
                           810 S. Casino Center Blvd., Suite 104




                                                                        vs.                                            )     ALLOW DEFENDANT EARNEST
                             702-240-7979 • Fax 866-412-6992




                                                                   12                                                  )   ROGERS TO TRAVEL OUT OF STATE
                                 Las Vegas, Nevada 89101




                                                                                                                       )
                                                                   13   EARNEST ROGERS,                                )
                                                                                                                       )
                                                                   14                                                  )
                                                                                    Defendant.                         )
                                                                   15                                                  )

                                                                   16
                                                                               IT IS HEREBY STIPULATED AND AGREED, by and between the United States of
                                                                   17
                                                                        America, by and through Robert Knief, United States Attorney, ERNEST ROGERS, by and
                                                                   18
                                                                        through his attorney, Kendelee Leascher Works, Esq., that Defendant EARNEST ROGERS be
                                                                   19
                                                                        permitted to travel outside the State of Nevada to visit his ill mother, under the following
                                                                   20
                                                                        conditions:
                                                                   21
                                                                               1.     Mr. Rogers shall be permitted to leave the State of Nevada on the date this Court
                                                                   22
                                                                        executes the instant stipulation to travel to Perris, California, where he will visit his mother,
                                                                   23
                                                                        Jeannette Young, who recently fell ill due to a cardiac arrest and/or other cardiac related
                                                                   24
                                                                        conditions.
                                                                   25
                                                                               2. Mr. Wright will return to Las Vegas, Nevada within 7 days of his departure from Las
                                                                   26
                                                                        Vegas, but regardless of such departure date, no later than February 2, 2018.
                                                                   27
                                                                   28
                                                                   Case
                                                                    Case2:17-cr-00124-JAD-EJY
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                                                                    1          3. Mr. Wright will contact Pre-Trial Services and/or his supervising officer on the date
                                                                    2   of his departure from Las Vegas and again on the date of his return to Las Vegas, in addition to
                                                                    3   any other communications otherwise required under the conditions of his pre-trial release.
                                                                    4              DATED this 24th day of January, 2018.
                                                                    5
                                                                        U.S. ATTORNEY’S OFFICE
                                                                    6
                                                                    7   /s/ Robert Knief
                                                                        ROBERT KNIEF, ESQ.
                                                                    8   501 Las Vegas Blvd., South
                                                                        Suite 100
                                                                    9
                                                                        Las Vegas, NV 89101
                                                                   10   Robert.Knief@usdoj.gov
CHRISTIANSEN LAW OFFICES




                                                                        Attorney for the UNITED STATES
                                                                   11
                           810 S. Casino Center Blvd., Suite 104

                             702-240-7979 • Fax 866-412-6992




                                                                   12
                                                                        CHRISTIANSEN LAW
                                 Las Vegas, Nevada 89101




                                                                   13
                                                                         /s/   Kendelee Leascher Works
                                                                   14   KENDELEE LEASCHER WORKS, ESQ.
                                                                   15   810 S. Casino Center Blvd., Ste 104
                                                                         Las Vegas, NV 89101
                                                                   16    kworks@christiansenlaw.com
                                                                         Attorney for EARNEST ROGERS
                                                                   17
                                                                   18          IT IS SO ORDERED
                                                                   19          DATED this 29th day of January, 2018.
                                                                   20
                                                                   21                                                __________________________________
                                                                                                                     UNITED STATES MAGISTRATE JUDGE
                                                                   22
                                                                   23
                                                                   24
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                                                                   27
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